                            Case 1:23-cv-00146-LEK-WRP Document 1-1 Filed 03/23/23 Page 1 of 3                     PageID.14
                                                         Exhibit A to the Complaint
Location: Honolulu, HI                                                                                   IP Address: 72.234.140.214
Total Works Infringed: 25                                                                                ISP: Hawaiian Telcom
 Work      Hashes                                                               UTC              Site           Published     Registered   Registration
 1         Info Hash: 21631802DAA040229CCC2DE1D5D216DA12CDA353                          02-28-   Tushy          02-26-2023    03-06-2023   PA0002399996
           File Hash:                                                                     2023
           96872EAC149F771891AA191A88A688562065865A387742B71587D9AB58BD4F21           17:17:43
 2         Info Hash: 8E202BD15F53469FCA55E7FA5318F50F33C45761                          02-26-   Tushy          02-19-2023    03-06-2023   PA0002399999
           File Hash:                                                                     2023
           6F68E3CB48511B9ACB05315417CFA4B4B8BC74ADBB1E7B705191310BA77B3154           22:28:45
 3         Info Hash: 9DCAA506FCD18CBC43374B59DCF295D275F78689                          02-26-   Blacked        02-18-2023    03-06-2023   PA0002399995
           File Hash:                                                                     2023   Raw
           41CF2342AC870E5B1224E13FEBF21489DABF19588367A5E809C47AADC4FD17FE           00:29:50
 4         Info Hash: 6C8838FC8D9E67B9CEDE5A554638A6CEFFE917CB                          02-26-   Blacked        02-25-2023    03-07-2023   PA0002400308
           File Hash:                                                                     2023
           97333BD8DC54DA715AE592D8451678A45FDA5E953386A1AADC18A463C48E676C           00:05:53
 5         Info Hash: BDD77BD8D64D940C3C113FE65070711EB153013B                          02-14-   Tushy          02-12-2023    03-07-2023   PA0002400309
           File Hash:                                                                     2023
           9AA865FBFC08131F909CB29A254EEA4B6C42B3DED82BF9919A680C7F052D362D           07:21:33
 6         Info Hash: DBA674E141B23DCD03F78CE3C175EB5F379FEB21                          02-14-   Blacked        07-09-2022    07-22-2022   PA0002359462
           File Hash:                                                                     2023
           5E9C1F1CECDDAAB442B2745AE8EBD3C988830875C5BE3C3B6868B6DAD120A0AC           07:13:02
 7         Info Hash: 99668E32A1637C328EBF8A57212864C42943E00A                          02-14-   Tushy          11-20-2022    12-11-2022   PA0002384715
           File Hash:                                                                     2023
           7FDDF8B0B1F88AA554C2DA073EBD857DFAC0AF14AE2FF4CAD7E4E4E24EEC969A           07:05:18
 8         Info Hash: BC9B734ECFA71CA5DD4B0C8BFF63DCFC902B4E3D                          02-14-   Tushy          07-31-2022    08-30-2022   PA0002367738
           File Hash:                                                                     2023
           E8D259C7E52328D88E0892DC5B27907354B2A6DCF45A77FD9C824FD513CB2824           07:01:05
 9         Info Hash: E39F895D4E58E9EA65935691E4A56CFB734D2130                          02-05-   Vixen          02-03-2023    03-07-2023   PA0002400312
           File Hash:                                                                     2023
           373DA38A6EE57F5FE551626B91C3993D8C1B3FE6537F8F531778AFFFFB969F96           18:13:10
 10        Info Hash: 00FEEAC5BBCEC2BDD60F53DE2F8D48FE998AB0D8                          02-01-   Tushy          01-29-2023    03-07-2023   PA0002400310
           File Hash:                                                                     2023
           F02B8F6739A45B42F9007334F70C0C6399B08182423865E59F66ADD95DE1D2E2           17:39:27
 11        Info Hash: 9D0E6395886BD6D9F2435B40F907FF75184571C8                          01-29-   Vixen          11-04-2022    12-11-2022   PA0002384755
           File Hash:                                                                     2023
           B972F5E8B10A1E9A75F37EB4DCA61E749E0C08EF0A1665D59A2FA625E3D1A235           00:22:01
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Work   Hashes                                                             UTC         Site      Published    Registered   Registration
12     Info Hash: 85A7D0B69B29F022A4B36BABF4A15380FFC542F8                   01-28-   Vixen     11-11-2022   12-11-2022   PA0002384688
       File Hash:                                                              2023
       13BACABECD8E03B9B75B816C38FF0A84D29DB71AC59380B290D954FD5C621531    23:56:59
13     Info Hash: C0A2ECD28E56C3B0C99FFB648519AE03B45CD352                   01-28-   Blacked   01-07-2023   01-27-2023   PA0002393078
       File Hash:                                                              2023
       546410AC2AB27879EB515B7BE995E2B772F4D93C2BAF048BC57CB7DED82661A3    23:46:58
14     Info Hash: 00C56C20D92364F6582DFFD455CBECFB42580CEB                   01-28-   Blacked   12-31-2022   01-10-2023   PA0002389580
       File Hash:                                                              2023
       98FCFFFAD004377A839F752D05E1B458CD0CE36DB3BD98D65545D27F32C477EE    23:45:21
15     Info Hash: 3AD0F06F038FCEA6C738A2A93D38C5FB6CCC288C                   01-28-   Blacked   01-28-2023   03-07-2023   PA0002400316
       File Hash:                                                              2023
       407A453E1507FB5ED0407941EB7B782BBDF76C8794AB5A3E3A6E1E5FEA354EAD    23:20:49
16     Info Hash: A25685687023EF84BFF6D91D0BBD873DC0F6B275                   11-15-   Blacked   11-12-2022   12-11-2022   PA0002384761
       File Hash:                                                              2022
       D104235CB186000257EFEC44D37009138ED666B5A0AF953262BC8DC8878B6C1E    19:25:49
17     Info Hash: 9191BBB92E06E8742E9F6D0F6DDF1B55DF5096B5                   11-15-   Tushy     11-13-2022   12-11-2022   PA0002384758
       File Hash:                                                              2022
       D2341F49BEC2F2FA6B25090A6B4694E3E8D0D68883109D9BD06A823F61DCC810    19:05:12
18     Info Hash: D4414E1E954985552282EC01BA093EFC905FC4BC                   10-02-   Tushy     09-18-2022   10-05-2022   PA0002373759
       File Hash:                                                              2022
       77324052D00723989E8C099AC2AA8D3154464B79F15BA040862E8E9C49101D5B    02:25:20
19     Info Hash: 95505D61714FFB8D1CAF8705030B81CE51F3A19B                   08-30-   Blacked   08-27-2022   10-05-2022   PA0002373768
       File Hash:                                                              2022
       B8AA21BB37C16CA8759EC603E9F67A617F87E4373D6AFD1C83300B78A7ED257E    01:34:30
20     Info Hash: 37A113E7812CE3A6E9AA5DC3E6BAD7604000771C                   08-17-   Tushy     08-14-2022   08-30-2022   PA0002367744
       File Hash:                                                              2022
       FB67C7CD80CEBFE4CEF574F6A19ED8B35FF92DB7458CA42570C7CCD270892191    19:27:52
21     Info Hash: DDF350312A2BD423AF62147F3BF6ADAED1492CC4                   07-12-   Tushy     07-10-2022   07-22-2022   PA0002359469
       File Hash:                                                              2022
       81DF4D8A07F0EFCB6F4C11869DD86F8CC7AE49E1D24E4B61843A53683C366378    07:23:34
22     Info Hash: 914658A5BDB2C4B7F6DC0068A0CD8620BD6BD78B                   05-26-   Blacked   05-23-2022   06-27-2022   PA0002355031
       File Hash:                                                              2022   Raw
       86431A12471F040E4720728ED2CB6B29A140CCE1AF9EEAF6A8B527601AB33194    19:10:14
23     Info Hash: 5E895C99167DC14F740D578515707EA3BFA9F0F2                   05-07-   Blacked   03-26-2022   04-23-2022   PA0002346435
       File Hash:                                                              2022
       8679396D7C6C4417C6CF4ECB1616891043F523FAA8D5702A2057AC953380AA1C    22:48:14
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Work   Hashes                                                             UTC       Site    Published    Registered   Registration
24     Info Hash: 0AA6DD562221A3E0EA13E8B920F55F81B136E7A9                   04-23- Vixen   11-20-2020   11-30-2020   PA0002266357
       File Hash:                                                              2022
       9BEE6F1526B4D9328457CE16407EDB1F37E0724D91EFE21679E4CDAED163F1EF    23:16:44
25     Info Hash: 3F1E4F5B33AD60766F9B6E48F7B1F01966C7953D                   01-12- Tushy   11-28-2021   02-14-2022   PA0002335497
       File Hash:                                                              2022
       1834710524F74EC2B9A45E00D2EEE8343131B7FB1A25895C7F9AC9A28393D893    02:43:35
